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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH DAKOTA
                           WESTERN DIVISION


  IN THE MATTER OP THE SEARCH OF: CASE NUMBER: 5'- ^ ^~ 3b
  %e £rop.Ttyioc?edatJ""?"l"._ AFFIDAVIT IN SUPPORT OF
  Dr;LRapLdcJty:.south^Dako.ta:.^^^^to SEARCH WARRANT'
         any curtilage and outbuilctings,
  as well as persons or vemcles on
  property as well as the content of any
  computer and electronic storage




State of South Dakota )
                         ) ss
County of Pennington )

      I, Brian Freeouf, Investigator with the Pennington County Sheriffs Office

(PC80) and currently assigned to the South Dakota Internet Crimes Against

Children Taskforce (ICAC), being duly sworn, state as follows:

      1. I began my law enforcement career with Pennington County in July


of 2005. I spent approximately 3 years on patrol in the contract community of


Wall, SD. I was then assigned to the patrol division in Rapid City in 2008. I was

promoted to the rank of Senior Deputy in July of 2010. I also spent time as a

School Liaison Officer and Criminal Investigations Division as a Property Crimes

Investigator. Even though I was assigned as a Property Crimes Investigator I

also investigated other crimes including, but not limited to, homicides, rapes,


assaults, and coroner duties. My other assignments within the Sheriffs Office


include Deputy Coroner, Field Training Deputy, and Defensive Tactics Training

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Administrator. Due to the placement on ICAC, I have also been given the title of

Special Assistant Attorney General of the State of South Dakota.

      2. I have investigated and assisted in the investigation of cases

involving the possession, receipt, and distribution of child pornography in

violation of federal law to include United States Statues 18 U.S.C. §§ 2251,2252

and 2252A, involving violations of law involving child pornography. During my

law enforcement-career I have become familiar with the modus operandi of


persons involved in the illegal production, distribution and possession of child

pornography. Based on my experience and training, I am. knowledgeable of the


various means utilized by individuals who illegally produce, distribute, receive

and possess child pornography.

      3. I have been informed that 18 U.S.C. §§ 2251, 2252 and 2252A,

prohibit the manufacture, distribution, receipt and possession of child

pornography.


      4. The facts set forth in this affidavit are based on my personal

knowledge; knowledge obtained from other individuals, including other law

enforcement officers; interviews of persons with knowledge; my review of


documents, interview reports and computer records related to this investigation;


communications with others who have personal knowledge of the events and


circumstances described herein; and information gained through my training

and experience. This affidavit contains information necessary to support


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 probable cause for this application and does not contain every material fact that

 I have learned during the course of this investigation; however, no information


 known to me that would tend to negate probable cause has been withheld from

 this affidavit.

                   ITEMS TO BE SEARCHED FOR AND SEIZED:

       5. This affidavit is submitted in support of an application for a search

warrant for the property located at ^^^^^^^^^B Rapid City, South Dakota

(hereinafter also referred to as SUBJECT PREMISES and photographically

depicted in Attachments C-D). The residence is green in color with brick accent

halfway down on the front of the garage. This house is one half of a duplex and

the other address is B^^^^^^^B The address of "Jff' is clearly marked on

the mailbox and the garage. When looking at the duplex ^B is the right half or

west half of the building. The front door of ^B faces approximately north. I also

request the warrant include authorization to search any curtilage on the


property, persons on the property, outbuildings, detached garages and storage


sheds, as well as persons or vehicles. Additionally, your affiant seeks the warrant


authorize the search the content of any computer and electronic storage devices,


cellular phones, tablets, and any other electronic storage devices, including but


not limited to external and internal hard drives, thumb drives, flash drives,

gaming devices with storage capability, storage discs, SD cards, cameras,


cellular phones, smart phones and phones with photo-taking and/or internet

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access capabilities. I respectfully request the Court permit law enforcement to

seize all such electronic devices located on the premises and further access and


search the contents of said electronic devices without seeking an additional or

separate warrant.


      6. The warrant is being obtained in order to search for contraband and


 evidence, fruits, and instrumentalities of violations of 18 U.S.C. §§ 2251, 2252,

 and 2252A (production, receipt and possession of child pornography), and

 which items are more specifically described in Attachment B.

                                  DEFINITIONS

      7. The following definitions apply to this Affidavit and Attachments A

and B:

      a. "Chat," as used herein, refers to any kind of text communication


over the Internet that is transmitted in real-time from sender to receiver. Chat


messages are generally short in order to enable other participants to respond

quickly and in a format that resembles an oral conversation. This feature


distinguishes chatting from other text-based online communications such as


Internet forums and email.


      b. "Child Erotica," as used herein, means materials or items that are


sexually arousing to persons having a sexual interest in minors but that are not


necessarily, in and of themselves, obscene or that do not necessarily depict


minors in sexually explicit poses or positions.


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      c. "Child pornography," as defined in 18 U.S.C. § 2256(8), is any visual

depiction of sexually explicit conduct where (a) the production of the visual

depiction involved the use of a minor engaged in sexually explicit conduct, (b)

the visual depiction is a digital image, computer image, or computer-generated


image that is, or is indistinguishable from, that of a minor engaged in sexually

explicit conduct, or (c) the visual depiction has been created, adapted, or

modified to appear that an identifiable minor is engaged in sexually explicit

conduct.


      d. "Cloud-based storage service," as used herein, refers to a publically


accessible, online storage provider that collectors of child pornography can use

to store and trade child pornography in larger volumes. Users of such a service


can share links and associated passwords to their stored files with other traders

of child pornography in order to grant access to their collections. Such services


allow individuals to easily access these files through a wide variety of electronic

devices such as desktop and laptop computers, mobile phones, and tablets,


anywhere and at any time. An individual with the password to file stored on a

cloud-based sendce does not need to be a user of the service to access the file.


Access is free and readily available to anyone who has an internet connection.


      e. "Computer," as used herein, refers to "an electronic, magnetic,


optical, electrochemical, or other high speed data processing device performing

logical or storage functions, and includes any data storage facility or

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communications facility directly related to or operating in conjunction with

such device" and includes smartphones, and mobile phones and devices. See


18 U.8.C. § 1030(e)(l).

      f. "Computer hardware," as used herein, consists of all equipment which


can receive, capture, collect, analyze, create, display, convert, store, conceal, or


transmit electronic, magnetic, or similar computer impulses or data. Computer


hardware includes any data-processing devices (including, but not limited to,

central processing units, internal and peripheral storage devices such as fixed


disks, external hard drives, floppy disk drives and diskettes, and other memory

storage devices); peripheral input/output devices (including, but not limited to,

keyboards, printers, video display monitors, and related communications


devices such as cables and connections), as well as any devices, mechanisms,


or parts that can be used to restrict access to computer hardware (including,


but not limited to, physical keys and locks).

      g. "Computer software," as used herein, is digital information which can


be interpreted by a computer and any of its related components to direct the

way they work. Computer software is stored in electronic, magnetic, or other


digital form. It commonly includes programs to run operating systems,


applications, and utilities.

      h. "Computer-related documentation," as used herein, consists of


written, recorded, printed, or electronically stored material which explains or


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illustrates how to configure or use computer hardware, computer software, or


other related items.


      i. "Computer passwords, pass-phrases and data security devices," as


used herein, consist of information or items designed to restrict access to or


hide computer software, documentation, or data. Data security devices may


consist of hardware, software, or other programming code. A password or


pass-phrase (a string of alpha-numeric characters) usually operates as a sort of


digital key to "unlock" particular data security devices. Data security hardware


may include encryption devices, chips, and circuit boards. Data security


software of digital code may include programming code that creates "test" keys


or "hot" keys, which perform certain pre-set security functions when touched.


Data security software or code may also encrypt, compress, hide, or"booby-


trap" protected data to make it inaccessible or unusable, as well as reverse the


progress to restore it.


      j. A provider of "Electronic Communication Service" ("ESP"), as defined


in 18 U.S.C. § 2510(15), is any sendce that provides to users thereof the ability

to send or receive wire or electronic communications. For example, "telephone


companies and electronic mail companies" generally act as providers of


electronic communication services. See 8. Rep. No. 99-541 (1986), reprinted in


1986 U.S.C.C.A.N. 3555, 3568.
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      k. "Electronic Storage Device" includes but is not limited to external and


internal hard drives, thumb drives, flash drives, SD cards, gaming devices with


storage capability, storage discs (CDs and DVDs), cameras, cellular phones,

smart phones and phones with photo-taking and/or internet access


capabilities, and any "cloud" storage by any provider.


      1. "File Transfer Protocol" ("FTP"), as used herein, is a standard network


protocol used to transfer computer files from one host to another over a


computer network, such as the Internet. FTP is built on client-server


architecture and uses separate control and data connections between the client


and the server.


      m. "Hash value," as used herein, refers to a unique alpha-numeric


identifier for a digital file. A hash value is generated by a mathematical

algorithm, based on the file's content. A hash value is a file's "digital

fingerprint." Two files having identical content will have the same hash value,


even if the file names are different. On the other hand, any change to the data

in a file, however slight, will change the file's hash value, even if the file name

is unchanged. Thus, if two files have the same hash value, they are said to be


identical, even if they have different file names.

      n. "Internet Protocol address" or "IP address," as used herein, refers to a


unique number used by a computer or other digital device to access the


Internet. An IP address is one of two versions. Internet Protocol Version 4
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(IPV4) or Internet Protocol Version 6 (IPV6). IPV4 looks like a series of four

numbers, each in the range 1-255, separated by periods. IPV6 looks like a


series of 8 numbers or letters separated by a colon. Each series of numbers


will be 0-9 and/or a-f. Every computer or device accessing the Internet must


be assigned an IP address so that Internet traffic sent from and directed to that

computer or device may be properly directed from its source to its destination.


Most Internet Sendce Providers (ISPs - defined below) control a range of OP

addresses. IP addresses can be "dynamic," meaning that the ISP assigns a


different unique number to a computer every time it accesses the Internet. IP


addresses might also be "static," if an I8P assigns a user's computer a


particular IP address that is used each time the computer accesses the


Internet. ISPs


        o. "Internet Service Providers" ("ISPs"), as used herein, are commercial


organizations that are in business to provide individuals and businesses access


to the Internet. ISPs provide a range of functions for their customers including

access to the Internet, web hosting, e-mail, remote storage, and co-location of


computers and other communications equipment.


        p. "Records," "documents," and "materials," as used herein, include all


information recorded in any form, visual or aural, and by any means, whether


in handmade, photographic, mechanical, electrical, electronic, or magnetic


form.
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      q. "Remote Computing Service" ("RC8"), as defined in 18 U.S.C. §


2711(2), is the provision to the public of computer storage or processing

services by means of an electronic communications system.


      r. "Short Message Sendce" ("SMS"), as used herein, is a service used to


send text messages to mobile phones. SMS is also often referred to as texting,


sending text messages or text messaging. The service allows for short text


messages to be sent from one cell phone to another cell phone or from the Web


to another cell phone. The term "computer," as defined in 18 U.S.C. §


103.0(e)(l), means an electronic, magnetic, optical, electrochemical, or other


high speed data processing device performing logical, arithmetic, or storage

functions, and includes any data storage facility or communications facility

directly related to or operating in conjunction with such device.

                 BACKGROUND ON CHILD PORNOGRAPHY,
                 COMPUTERS, THE INTERNET, AND EMAIL

      8. I have had both training and experience in the investigation of

computer-related crimes. Based on my training, experience, and knowledge, I


know the following:

            a. Computers and digital technology have dramatically changed

      the way in which individuals interested in child pornography interact with

      each other. Computers basically serve four functions in connection with


      child pornography: production, communication, distribution, and storage.



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          b. Child pornographers can now transfer printed photographs

    into a computer-readable format with a device known as a scanner.


    Furthermore, with the advent of digital cameras and smartphones with

    cameras, when the photograph is taken it is saved as a digital file that can

    be directly transferred to a computer by simply connecting the camera or

    smartphone to the computer. In the last ten years, the resolution of


    pictures taken by digital cameras and smartphones has increased


    dramatically, meaning that such pictures have become sharper and


    crisper. Photos taken on a digital camera or smartphone may be stored


    on a removable memory card in the camera or smartphone. These memory


    cards often store up to 32 gigabytes of data, which provides enough space

    to store thousands of high-resolution photographs. Video camcorders,


    which once recorded video onto tapes or mini-CDs, now can save video


    footage in a digital format directly to a hard drive in the camera. The video

    files can be easily transferred from. the camcorder to a computer.


          c. A device known as a modem allows any computer to connect


    to another computer through the use of telephone, cable, or wireless


    connection. Electronic contact can be made to literally millions of


   computers around the world. The ability to produce child pornography

    easily, reproduce it inexpensively, and market it anonymously (through

   electronic communications) has drastically changed the method of

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    distribution and receipt of child pornography. Child pornography can be

    transferred via electronic mail or through file transfer protocols (FTPs) to

    anyone with access to a computer and modem. Because of the


    proliferation of commercial services that provide electronic mail service,


    chat services (i.e., "Instant Messaging"), and easy access to the Internet,


    the computer is a preferred method of distribution and receipt of child

    pornographic materials.


          d. The computer's ability to store images in digital form makes

    the computer itself an ideal repository for child pornography. The size of

    the electronic storage media (commonly referred to as the hard drive) used

    in home computers has grown tremendously within the last several years.


   These drives can store thousands of images at very high resolution. In


    addition, there are numerous options available for the storage of computer


    or digital files. One-Terabyte external and internal hard drives are not


   uncommon. Other media storage devices include CDs, DVDs, and


   "thumb," "jump," or "flash" drives, which are very small devices which are


   plugged into a port on the computer. It is extremely easy for an individual

   to take a photo or a video with a digital camera or camera-bearing

   smartphone, upload that photo or video to a computer, and then copy it

   (or any other files on the computer) to any one of those media storage

   devices (CDs and DVDs are unique in that special software must be used

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    to save or "burn" files onto them). Media storage devices can easily be


    concealed and carried on an individual's person. Smartphones and/or


    mobile phones are also often carried on an individual's person.


          e. The Internet affords individuals several different venues for

    obtaining, viewing, and trading child pornography in a relatively secure

    and anonymous fashion.


          f. Individuals also use online resources to retrieve and store


    child pornography, including services offered by Internet Portals such as

    Yahoo! and Hotmail, among others. The online services allow a User to set


    up an account with a remote computing service that provides e-mail


    services as well as electronic storage of computer files in any variety of


    formats. A user can set up an online storage account from any computer


   with access to the Internet. Even in cases where online storage is used,


    however, evidence of child pornography can be found on the user's


    computer or external media in most cases.


          g. As is the case with most digital technology, communications

   by way of computer can be saved or stored on the computer used for these


   purposes. Storing this information can be intentional, i.e., by saving an


   e-mail as a file on the computer or saving the location of one's favorite


   websites in, for example, "bookmarked" files. Digital information can also


   be retained unintentionally, e.g., traces of the path of an electronic


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      communication may be automatically stored in many places (e.g.,


      temporary files or ISP client software, among others). In addition to

      electronic communications, a computer user's Internet activities generally


      leave traces or "footprints" in the web cache and history files of the browser


      used. Such information is often maintained indefinitely until overwritten

      by other data.


     SPECIFICS OF SEARCH AND SEIZURE OF COMPUTER SYSTEMS

      9. Based upon my training and experience and information related to

me by agents and others involved in the forensic examination of computers, I


know that computer data can be stored on a variety of systems and storage


devices including hard disk drives, floppy disks, compact disks, magnetic tapes

and memory chips. I also know that during the search of the premises it is not

always possible to search computer equipment and storage devices for data for

a number of reasons, including the following:


            a. Searching computer systems is a highly technical process


      which requires specific expertise and specialized equipment. There are so

      many types of computer hardware and software in use today that it is

     impossible to bring to the search site all of the technical manuals and

      specialized equipment necessary to conduct a thorough search. In


     addition, it may also be necessary to consult with computer personnel who




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    have specific expertise in the type of computer, software application or

    operating system that is being searched;

          b. Searching computer systems requires the use of precise,


    scientific procedures which are designed to maintain the integrity of the

    evidence and to recover "hidden," erased, compressed, encrypted or


    password-protected data. Computer hardware and storage devices may


    contain "booby traps" that destroy or alter data if certain procedures are


    not scrupulously followed. Since computer data is particularly vulnerable


    to inadvertent or intentional modification or destruction, a controlled


    environment, such as a law enforcement laboratory, is essential to


    conducting a complete and accurate analysis of the equipment and storage


    devices from. which the data will be extracted;


          c. The volume of data stored on many computer systems and


    storage devices will typically be so large that it will be highly impractical

    to search for data during the execution of the physical search of the

    premises; and


          d. Computer users can attempt to conceal data within computer


    equipment and storage devices through a number of methods, including

    the use of innocuous or misleading filenames and extensions. For


    example, files with the extension ".jpg" often are image files; however, a


   user can easily change the extension to ".txt" to conceal the image and


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      make it appear that the file contains text. Computer users can also


      attempt to conceal data by using encryption, which means that a password

      or device, such as a "dangle" or "keycard," is necessary to decrypt the data


      into readable form. In addition, computer users can conceal data within


      another seemingly unrelated and innocuous file in a process called


      "steganography." For example, by using steganography a computer user


      can conceal text in an image file which cannot be viewed when the image


      file is opened. Therefore, a substantial amount of time is necessary to


      extract and sort through data that is concealed or encrypted to determine

      whether it is evidence, contraband or instrumentalities of a crime.


      10. Based on my own experience and my consultation with other agents


who have been involved in computer searches, searching computerized


information for evidence or instrumentalities of a crime often requires the seizure


of all of a computer system's input and output peripheral devices, related


software, documentation, and data security devices (including passwords) so


that a qualified computer expert can accurately retrieve the system's data in a


laboratory or other controlled environment. There are several reasons that


compel this conclusion:


            a. The peripheral devices that allow users to enter or retrieve


            data from the storage devices vary widely in their compatibility with

            other hardware and software. Many system, storage devices require


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           particular input/output devices in order to read the data on the

           system. It is important that the analyst be able to properly re-


           configure the system as it now operates in order to accurately


           retrieve the evidence listed above. In addition, the analyst needs the

           relevant system software (operating systems, interfaces, and


           hardware drivers) and any applications software which may have

           been used to create the data (whether stored on hard drives or on

           external media), as well as all related instruction manuals or other


           documentation and data security devices; and


            b. In order to fully retrieve data from a computer system, the


           analyst also needs all magnetic storage devices, as well as the


           central processing unit (CPU). In cases like the instant one where

           the evidence consists partly of image files, the monitor and printer

           are also essential to show the nature and quality of the graphic

           images which the system could produce. Further, the analyst again

           needs all the system software (operating systems or interfaces, and


           hardware drivers) and any applications software which may have

           been used to create the data (whether stored on hard drives or on


           external media) for proper data retrieval.


     11. Additionally, based upon my training and experience and

information related to me by agents and others involved in the forensic

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examination of computers, I know that routers, modems, and network


equipment used to connect computers to the Internet often provide valuable


evidence of, and are instrumentalities of, a crime. This is equally true of so-


called "wireless routers," which create localized networks that allow individuals


to connect to the Internet wirelessly. Though wireless networks may be "secured"


(in that they require an individual to enter an alphanumeric key or password

before gaining access to the network) or "unsecured" (in that an individual may

access the wireless network without a key or password), wireless routers for both


secured and unsecured wireless networks may yield significant evidence of, or


serve as instrumentalities of, a crime—including, for example, serving as the


instrument through which the perpetrator of the Internet-based crime connected

to the Internet and, potentially, containing logging information regarding the

time and date of a perpetrator's network activity as well as identifying

information for the specific device(s) the perpetrator used to access the network.

Moreover, I know that individuals who have set up either a secured or unsecured


wireless network in their residence are often among the primary users of that


wireless network.


     PROBABLE CAUSE AND BACKGROUND OF THE INVESTIGATION

      12. On 03/04/19, I received a CyberTipline Report from the National

Center of Missing and Exploited Children (NCMEC). The report number is




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45823377. The report was generated by Facebook. This report was in reference


to someone sharing child pornography via Facebook Messenger.


       13. The following user was being reported as the person sending the

child pornography:


      Name: James Merculief



      Mobile Phone: 605-389-2041


      Date of Birth: ^^•1963


      Approximate Age: 55


      Email Address: merculiefiames(%gmail.com



      Screen/User Name: jam.es.rnerculief.33



      E8P User ID: 100023559524364


      Profile URL: http://www.facebook.com/iames.merculief.33



      IP Address: 67.158.18.71 12-15-2018 20:08:09 UTC


      14. There was one image child pornography associated with the report.

I was able to view the image the following is a description of the image:




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      • File Name:


         aby5ygbe68oco40g48423839_1919832514801359_792240753645

         0338816_n.jpg

             o Description: This image appears to be of a 5-8 year old girl.

                She is not wearing any pants or underwear in the image.


                The girl is pulling her knees toward her head spreading her

                legs. She is exposing her bare vagina and anus in the


                image.


      15. The recipient of the above listed image did not appear to be anyone

in the western South Dakota. On 03/06/19, I preserved both Facebook

accounts from the Cybertip report. This image was uploaded on 12/23/18

09:21:08 UTC from IP address 138.128.33.29. This IP address appears to be

utilized by a company called Server Mania out of Buffalo, New York. When I

investigated Server Mania it appears to be a virtual private network provider.


The suspect could still be in Rapid City, uploading the image even though the IP

address would indicate he was in Buffalo New York.

      16. IinvestigatedtheIPaddress67.158.18.71. I was able to ascertain


that IP address was being leased by Vast Broadband. A subpoena was generated

by the US Attorney's Office and on 03/08,19 I served that subpoena on Vast for

user and subscriber information for that IP address. Vast responded with the

following information.


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             Customer Name: Merculief, Benjamin


             Address: ^^^^^—| Rapid City, 3D 57701


             Phone: 605-731-8012


             Email: merculiefjames(%gmail.com



             SSN ending: 7253


       17. I looked up James Merculief in the local law enforcement records


system. I was able to find the following information:


             James Merculief


             DOB: ^•,63

            Address: ^^^^^^— Rapid City, SD. 57701


      18. James is also listed as a Registered Sex Offender. I contacted Rapid

City Sex Offender Compliance Officer Jolene Olerich. She told me James does

live at the listed address with his father Benjamin and possibly his sister. The

phone number reported in the Cybertip also matched the phone number he used

during his sex offender registry.


      19. On 3/11/19,I drove past ^^^^^^^^B. The house is green in

color with brick accent halfway down on the front of the garage. This house is

half of a duplex and the other address is ^^^^^^^^B- The address of ^B is


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clearly marked on the mailbox and the garage. When looking at the duplex H

is the right half or west half of the building. The front door of ^B faces

approximately north. There was also a white van parked in the front driveway.


This van has 8D license plate 2P3913. This van is registered to Alexa Merculief

at that address. This appears to be James's sister.


          CHARACTERISTICS COMMON TO INDIVIDUALSJVm HAVE A
           SEXUAL INTEREST IN CHILDREN AND/OR WHO PRODUCE,
               RECEIVE AND/OR POSSESS CHILD PORNOGRAPHY

      20. Based on my previous investigative experience related to child

exploitation investigations, and the training and experience of other law

enforcement officers with whom I have had discussions, I know there are certain


characteristics common to individuals who have a sexual interest in children


and/or receive, or possess images of child pornography:


            a. Individuals who have a sexual interest in children and/or

      receive, or possess images of child pornography may receive sexual


      gratification, stimulation, and satisfaction from contact with children, or

     from fantasies they may have viewing children engaged in sexual activity

     or in sexually suggestive poses, such as in person, in photographs, or other


     visual media, or from literature describing such activity.


            b. Individuals who have a sexual interest in children and/or

     receive, or possess images of child pornography may collect sexually


     explicit or suggestive materials, in a variety of media, including

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    photographs, magazines, motion pictures, videotapes, books, slides


    and/or drawings or other visual media. Individuals who have a sexual


    interest in children or images of children oftentimes use these materials

    for their own sexual arousal and gratification. Further, they may use these


    materials to lower the inhibitions of children they are attempting to

    seduce, to arouse the selected child partner, or to demonstrate the desired


    sexual acts.


          c. Individuals who have a sexual interest in children and/or

    receive, or possess images of child pornography almost always possess and


    maintain their hard copies of child pornographic material, that is, their

    pictures, films, video tapes, magazines, negatives, photographs,


    correspondence, mailing lists, books, tape recordings, etc., in the privacy


    and security of their home or some other secure location. Individuals who


    have a sexual interest in children or images of children often retain


    pictures, films, photographs, negatives, magazines, correspondence,


    books, tape recordings, mailing lists, child erotica, and videotapes for

    many years.


          d. Likewise, individuals who have a sexual interest in children

    and/or receive, or possess images of child pornography often maintain

    their child pornography images in a digital or electronic format in a safe,

    secure and private environment, such as a computer and surrounding


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    area. These child pornography images are often maintained for several


    years and are kept close by, usually at the possessor's residence, inside


    the possessor's vehicle, or, at times, on their person, to enable the


    individual to view the child pornography images, which are valued highly.

          e. Individuals who have a sexual interest in children and/or

    receive, or possess images of child pornography also may correspond with


    and/or meet others to share information and materials, rarely destroy


    correspondence from other child pornography distributors/possessors,

    conceal such correspondence as they do their sexually explicit material,


    and often maintain lists of names, addresses, and telephone numbers of


    individuals with whom. they have been in contact and who share the same


    interests in child pornography.

          f. Individuals who have a sexual interest in children and/or

    receive, or possess images of child pornography prefer not to be without

    their child pornography for any prolonged time period. This behavior has

    been documented by law enforcement officers involved in the investigation

   of child pornography throughout the world. Thus, even if Shane Davison

   uses a portable device (such as a mobile cell phone) to access the internet

   and child pornography, it is more likely than not that evidence of this

   access will be found in his home, the SUBJECT PREMISES, as well as on




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      electronic devices found in the home, as previously detailed and as set


      forth in Attachment A.

           REQUEST FOR SEALING OF APPLICATION/AFFIDAVIT

      21. I request that the Court order that all papers submitted in support

of this application, including this affidavit, the application, the warrant, and the

Order itself, be sealed until further order of the Court. These documents discuss


an ongoing criminal investigation that is neither public nor known to all the

targets of the investigation. Accordingly, there is good cause to seal these


documents because their premature disclosure may give targets an opportunity


to flee, destroy or tamper with evidence, change patterns of behavior, notify


confederates, or otherwise seriously jeopardize the investigation.


                                  CONCLUSION

      22. Based on my training and experience, and the facts as set forth in


this affidavit, there is probable cause to believe that there exists evidence of a

crime, contraband, instrumentalities, and/or fruits of violations of criminal laws

as specified herein, are located at the SUBJECT PREMISES, described further in

Attachment A. I respectfully request that this Court issue a search warrant for


the SUBJECT PREMISES, authorizing the seizure and search of the items

described in Attachment B.

      23. I am aware that the recovery of data by a computer forensic analyst


takes significant time; much the way recovery of narcotics must later be


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forensically evaluated in a lab, digital evidence will also undergo a similar

process. For this reason, the "return" inventory will contain a list of only the


tangible items recovered from the premises. Unless otherwise ordered by the


Court, the return will not include evidence later examined by a forensic analyst.




       Dated: 3/^7^,^                           'X^. /^ 0£>.
                                            Investigator Brian I^reeoul
                                            Pennington County SIierfFfs Office
                                            and ICAC




SUBSCRIBED and SWORN to

       in my presence
       by reliable electronic means


this   91   day of March, 2019.




DANETA WOLLMANN
U.S. MAGISTRATE JUDGE




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                              ATTACHMENT A
                          Property to Be Searched

 • The property located at ^^^^^^UBU Rapid City, South Dakota. The

    residence is green in color with brick accent halfway down on the front of

    the garage. This residence is one half of a duplex and the other address

    is BB^^^^^^B. The address of "^^" is clearly marked on the mailbox

    and the garage. When looking at the duplex ^B is the right half or west

    half of the building. The front door of BB faces approximately north;

 • any curtilage on the property;

 • persons on the property;


 • outbuildings, detached garages and storage sheds;

 • persons or vehicles;


 • the content of any computer and electronic storage devices, cellular


    phones, tablets, and any other electronic storage devices, including but


    not limited to external and internal hard drives, thumb drives, flash drives,

    gaming devices with storage capability, storage discs, SD cards, cameras,


    cellular phones, smart phones and phones with photo-taking and/or

   internet access capabilities.




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                              ATTACHMENT B

                            ITEMS TO BE SEIZED

      The following materials, which constitute evidence of the commission of a

criminal offense, contraband, the fruits of crime, or property designed or


intended for use or which is or has been used as the means of committing a

criminal offense, namely violations of Title 18, United States Code, Sections

2251, 2252 and 2252A (possession, receipt, distribution and production of child

pornography):

   1. Computers, cell phones or storage media used as a means to commit the


     violations described above.


  2. For any computer or storage medium whose seizure is otherwise


     authorized by this warrant, and any computer or storage medium that


     contains or in which is stored records or information that is otherwise


     called for by this warrant (hereinafter, "COMPUTER"):

        a. evidence of who used, owned, or controlled the COMPUTER at the


           time the things described in this warrant were created, edited, or

           deleted, such as logs, registry entries, configuration files, saved


           usernames and passwords, documents, browsing history, user


           profiles, email, email contacts, "chat," instant messaging logs,


           photographs, and correspondence;




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       b. evidence of software that would allow others to control the


          COMPUTER, such as viruses, Trojan horses, and other forms of


          malicious software, as well as evidence of the presence or absence


          of security software designed to detect malicious software;


       c. evidence of the lack of such malicious software;


       d. evidence indicating how and when the computer was accessed or


          used to determine the chronological context of computer access,


          use, and events relating to crime under investigation and to the

          computer user;


       e. evidence indicating the computer user's state of mind as it relates


          to the crime under investigation;

       f. evidence of the attachment to the COMPUTER of other storage

          devices or similar containers for electronic evidence;


       g. evidence of programs (and associated data) that are designed to

          eliminate data from the COMPUTER;

       h. evidence of the times the COMPUTER was used;

       i. passwords, encryption keys, and other access devices that may be


          necessary to access the COMPUTER;

      j. documentation and manuals that may be necessary to access the


          COMPUTER or to conduct a forensic examination of the

          COMPUTER;

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       k. records of or information about Internet Protocol addresses used


          by the COMPUTER;

       1. records of or information about the COMPUTER'S Internet activity,


          including firewall logs, caches, browser history and cookies,


          "bookmarked" or "favorite" web pages, search terms that the user


          entered into any Internet search engine, and records ofuser-typed


          web addresses; and


       m. contextual information necessary to understand the evidence


          described in this attachment.

 3. Routers, modems, and network equipment used to connect computers to


    the Internet.


 4. Child pornography and child erotica.

 5. Records, information, and items relating to violations of the statutes


    described above including:

       a. Records, information, and items relating to the occupancy or


          ownership of 625 Auburn Dr., Rapid City, South Dakota, including

          utility and telephone bills, mail envelopes, or addressed

          correspondence; Records, information, and items relating to the


          ownership or use of computer equipment found in the above


          residence, including sales receipts, bills for Internet access, and


          handwritten notes;


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         b. Records and information relating to the identity or location of the

            persons suspected of violating the statutes described above; and

         c. Records and information relating to sexual exploitation of children,

            including correspondence and communications between various


            Seller and Buyer Accounts.


      As used above, the terms "records" and "information" includes all forms


of creation or storage, including any form of computer or electronic storage


(such as hard disks or other media that can store data); any handmade form

(such as writing); any mechanical form (such as printing or typing); and any

photographic form (such as microfilm, microfiche, prints, slides, negatives,

videotapes, motion pictures, or photocopies, CDs, DVDs).


      The term "computer" includes all types of electronic, magnetic, optical,


electrochemical, or other high speed data processing devices performing logical,

arithmetic, or storage functions, including desktop computers, notebook

computers, mobile phones, tablets, server computers, and network hardware.


      The term "storage medium" includes any physical object upon which

records computer data. Examples include external and internal hard drives,


thumb drives, flash drives, gaming devices with storage capability, storage

discs, SD cards, hard disks, RAM, flash memory, CDs, DVDs, and other


magnetic or optical media.




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